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                         N THE TINITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                    AMARILLO DIVISION

RUSTY STRICKLAND, et al.,

           Plaintiffs,

V                                                          2:24-CY-60-Z

THE LI'NITED STATES DEPARTMENT OF
AGRICULTIJRE, et al.,

           Defendants.

                         MEMORANDUM OPINION AND ORDER

        Before the Court is Plaintiffs' Motion for Preliminary Injunction or, in the Alternative,

Relief under 5 U.S.C. Section 705 ("Motion") (ECF No. l0), filed April 5,2024. For the reasons

explained below, the Court GRANTS the Motion IN PART.

        Plaintiffs complain of eight United States Depanment of Agriculture ("USDA")

Programs, but only Emergency Relief Program2022 ("ERI'2022") is active. Pending resolution

of this lawsuit and as to Plaintiffs, Defendants are ENJOINED under ERP 2022 from making

or increasing payments, or providing any additional relief, based on its "socially disadvantaged

farmer or rancher" designation, whether used directly or as a subset of its "underserved farmer

or rancher" designation. Defendants may still apply progressive t'actoring on future relief

applications if done independently of the protected classes "race" and "sex."

        BacrcRouxo

        Congress, through a series of legislative acts, provided billions of dollars in disaster

relief to American farmers. See, e.g., Title I of the Disaster Relief Supplemental Appropriations

 Act,2023 (Division N of the Disaster Relief Supplemental Appropriations Act, 2023; Pub. L.

 ll7-328, 136 Stat. 5201) (providing 93.74 billion in disaster relief to remain available until
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    expended). The Farm Service Agency ("FSA") of the USDA has issued eight Notices of Funds

    Availability ("Programs") to facilitate payments to eligible farmers.r

            The Programs allocated more relief funds2 to "socially disadvantaged farmers," which

    the regulations define to include: (l) American Indians or Alaskan Natives; (2) Asians or Asian-

    Americans; (3) blacks or African-Americans; (4) Hispanics or Hispanic-Americans; (5) Native

    Hawaiians or other Pacific Islanders; and (6) women.3 The USDA admits that these Programs

    benefit "women and minority farmers" to the detriment of white male farmers because doing so

    "reflects the agency's interest and goal of remedying the persistent effects of past discrimination

    . . . ." ECF No. 2l at 13; see id. at l5 (citing legislative history to claim that these farmers had

    "more difficulty getting loans and credit from USDA," "were in a far more precarious financial

    situation" compared to white male farmers, and that a disproportionate number of black,

    Hispanic, Asian-American, and indigenous farmers "were in default on their direct loans").



rNotice of Funds Availabiliry; Emergency Livestock Relief Program (ELRP) (ELRP 2021 Phase l),87 Fed. Reg.
19465 (Apr. 4,2022); Notice of Funds Availabiliry;2021 Emergency Livestock Relief Program (ELRP 2021 Phase
2), 88 Fed. Reg. 66366 (Sept.27,2023); Notice of Funds Availability: Emergency Relief Program (ERP)
(ERP 2021 Phase l), 87 Fed. Reg. 30164 (May 18, 2022);Pandemic Assistance Programs and Agricultural Disaster
Assistance Programs, Subpart S        Emergency Relief Program Phase 2 (ERP 2021 Phase 2),88 Fed. Reg. 1862
                                   - S 760.1901); Subpart D Pandemic Assistance Revenue Program (PARP), ,d.
(Jan. I1,2023) (codified at 7 C.F.R.
at 1877 (codified at 7 C.F.R. $ 9.302); Subpart C           - Food Assistance Program 2 (CFAP 2), id. (codified
                                                    Coronavirus
                                                  -
at 7 C.F.R. 9.201);Notice of Funds Availability; Emergency Livestock Relief Program (ELRP) 2022 (ELRP 2022),
           g
88 Fed. Reg. 66361 (Sept. 27, 2023): Notice of Funds Availability; Emergency Relief Program (ERP 2022),
88 Fed. Reg.74404 (Oct.31,2023).

2
    The challenged programs distribute more money or provide preferential treafinent. For example, under ELRP 202 I
Phases I and 2 and ELRP 2022, USDA paid socially disadvantaged farmers 20 percent more than non-underserved
farmers. Under ERP 202 I Phase l, USDA paid socially disadvantaged farmers l5 percent more than non-underserved
farmers. 87 Fed. Reg. at 30169. Under ERP 2021 Phase 2, USDA paid socially disadvantaged farmers using a l5
percent greater differential. 7 C.F.R. $ 760.1905(d). Under PARP, USDA paid socially disadvantaged farmers 12.5
percent more than non-underserved farmers. /d. $$ 9.306(aX I XiiiXAHB). Under CFAP 2, USDA made an additional
payment equal to 15 percent of the original amount that went to socially disadvantaged farmers but not to non-
underserved farmers. Id. g 9.203(p). And under ERP 2022, USDA (l) refunded insurance payments to socially
disadvantaged farmers but not to non-underserved farmers; (2) exempted those insurance payments from a large
reduction that it applied to other payments; and (3) paid socially disadvantaged farmers l5 percent more. 88 Fed. Reg.
at 74410,74414.

3
 87 Fed. Reg. at 19467;88 Fed. Reg. at 66369;87 Fed. Reg. at 30166; 88 Fed. Reg. at 1886; id. at 1879; id. at 1877;
88 Fed. Reg. at 66363;88 Fed. Reg. at 74408.

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       Plaintiffs are the farmers and entities to whom the USDA denied disaster relief money

based on their race and sex. ECF No. 11 at 15. In most cases, the USDA denied Plaintiffs

between l0 and 20 percent in Program payments. See, e.g., ECF No. 10-l fl 15 (Rusty Strickland

declaration). But in other cases, they were excluded from additional payments, id fl 14,

and under the most recent Program, Plaintiffs each received only a tenth of what they otherwise

would have received had they been of a different race or sex, id. 1120.

       This ten-to-one disparity is a notable development in the USDA's most recent program,

ERP 2022. Notice of Funds Availability; Emergency Relief Program, 88 Fed. Reg. 74404

(Oct. 3 1, 2023). That Program employs "progressive factoring" as opposed to a "flat rate" for

remunerating disaster losses. Under a flat-rate model, for example, the FSA paid 90 percent of

losses to socially disadvantaged farmers and a flat 75 percent of losses to white male farmers.

Notice of Funds Availability; Emergency Livestock Relief Program (ELRP 2021 Phase l),

87 Fed. Reg. 19465, 19466 (Apr. 4, 2022). Under a progressive-factoring model, by contrast,

farmers losing more recover less, while farmers losing less recover more. So, a farmer claiming

losses of up to $2,000 may recover 100 percent of that loss, while a farmer claiming losses over


$10,000 may recover only 10 percent of that loss. 88 Fed. Reg. at14410.

       The FSA exempted refunds of insurance premiums from progressive factoring          a relief
                                                                                      -
determination made on the basis of race and sex. See id. ("For underserved producers, the

producer's share of the Federal crop insurance administrative tbe and premium will be added to

the resulting sum."); id. at 74408 ("Underserved farmer or rancher means a beginning farmer

or rancher, limited resource farmer or rancher, socially disadvantaged farmer or rancher, or

veteran farmer or rancher.") (emphasis added); see also id. at74410, n.15 ("Providing a refund

of underserved producers' premiums and fees supports the equitable administration of FSA

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programs by targeting limited resources to support underserved farmers and ranchers, who are

more likely to lack financial reserves and access to capital . . . ."); ECF No. 10-l ti20 (explaining

that Mr. Strickland received $7,272.71 for his half, but Mrs. Strickland received $71,900.96, a

difference based on insurance premium refunds).

        Plaintiffs' instant Motion seeks preliminary relief or, in the altemative, relief under

5 U.S.C. Section 705 on the following bases: (1) race and sex discrimination in violation of the

Fifth Amendment; (2) the USDA lacked authority to discriminate on the basis of race and sex

under the major questions doctrine; and (3) the USDA's progressive-factoring model is arbitrary

and capricious. ECF No. 1 1 at l8-30. Defendants chiefly respond that Plaintiffs have suffered

no irreparable injury, and in any event, the Programs are either race- and sex-neutral or

otherwise justified. ECF No. 2l at 1644.

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        To obtain a preliminary injunction, Plaintiffs must show: (1) a substantial likelihood that

they will ultimately prevail on the merits; (2) a substantial threat that they will suffer irreparable

injury if the injunction is not granted; (3) that the threatened injury to them outweighs whatever

damage the proposed injunction may cause Defendants; and (4) that granting the injunction is

not against the public interest. Canal Authority of State of Florida v. Callaway,
489 F.2d 567,572 (5th Cir. 1974); Nichols v. Alcatel USA, lnc.,532 F.3d 364,372

(5th cir. 2008).

        Axlr,vsrs

        It is a "well established principle goveming the prudent exercise of [the Supreme
Court's] jurisdiction that normally [it] will not decide a constitutional question if there is some

other ground upon which to dispose of the case." Escambia Cty. ,. McMillan,466 U.S. 48, 5l


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 (198a); Veaseyv. Abbott,830 F'.3d 216,265 (5th Cir.2016). Plaintiffs argue that ERP 2022,

 inter alia, is arbitrary and capricious, implicates the major questions doctrine, and violates the

 Equal Protection Clause of the Fifth Amendment.

         I.      The eight challenged Programs are not arbitrary and capricious and do not
                 implicate the major questions doctrine.

       The Administrative Procedure Act ("APA") precludes judicial review of an agency action

"committed to agency discretion by law." 5 U.S.C. $ 701(a)(2). That is especially true when "the

statute is drawn so that a court would have no meaningful standard against which to judge the

agency's exercise of discretion." Physicians for Soc. Resp. v. Wheeler, 956 F.3d 634, 642

(D.C. Cir. 2020) (quoting Heckler v. Chaney,470 U.S. 821, 830 (1985)). The Fifth Circuit

clarifies, however, that Heckler applies, "if at all, to one-off agency enforcement decisions rather

than to agency rulemakings." Texas v. Biden,20 F.4th 928,984 (5th Cir. 2021), rev'd on other

grounds, 142 S. Ct. 2528,2548 (2022). Because ERP 2022 is a rule that promulgates progressive

factoring, inter alia, it is reviewable. See 5 U.S.C. $ 551(4) (defining "rule").

                 A.    Progressive factoring is not arbitrary and capricious.

       To satisff arbitrary-and-capricious review, the USDA must "articulate a satisfactory

explanation for [the] action including a rational connection between the facts found and the choice

made." Little Sisters of the Poor Saints Peter & Paul Home v. Pennsylvania,59l U.5.657,682

(2020) (quotations omitted). Under this "deferential" standard, a court "simply ensures that the

agency has acted within azone of reasonableness . . . ." FCC v. Prometheus Radio Project,592

u.s.414, 423 (202t).

       Plaintiffs complain only that EP.P 2022's progressive factoring         not its designation of
                                                                           -
"socially disadvantaged farmer5"        is arbitrary and capricious. ECF No. I I at 27. Because
                                    -
progressive factoring is a shift from prior flat-rate relief models, Plaintiffs argue that Defendants

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needed
          - but failed - to explain in detail how this change accounts for serious reliance interests
on the prior model. 1d (citing FCC v. Fox TV Stations, Inc., 556 U.S. 502,515 (2009)).

          ERP 2022 provides:

          Progressive factoring is a mechanism that ensures the limited available funding is
          distributed in a manner benefitting the majority of producers rather than a few.
          Additionally, progressive factoring increases emergency relief payments to most
          participants while reducing larger potential payments which increases the
          proportion of funding to smaller producers.

88 Fed. Reg. at 74410, n.14. This explanation, per Plaintiffs, fails to consider their serious reliance

interests on the prior flat-rate model such that progressive factoring cannot withstand arbitrary-

and-capricious review. ECF No. I I at28. But Plaintiffs are unavailing because the flat-rate rule

never engendered "serious reliance interests that must be taken into account." Fox TV, 556 U.S.

at 515.

          The "reliance interests" Plaintiffs invoke concern parry reliance on an agency's prior

statutory interpretation. See id (citing Smiley v. Citibank (South Dakota), N.A.,517 U.S. 735,

742 (1996) (explaining that a "change that does not take account of legitimate reliance on prior

interpretation . . . may be arbitrary, capricious [or] an abuse of discretion" (citations omitted))).

But here, Plaintiffs' stated reliance interests involve the means of remuneration subject to agency

discretion. This distinction makes a difference because the USDA consistently changes flat-rate

relief on an ad hoc basis, ECF No. 2l at35, while an agency's statutory interpretation is fixed

until changed. A flat-rate relief model, thus, does not engender the sort of reliance interests at

issue in Fox TV and Smiley.

          Plaintiffs' inability to articulate concrete reliance interests illustrates the point.

They proffer "reliance on USDA's past practice of simply paying farmers directly proportionate

to their losses and refunding insurance premiums." ECF No. I I at 28. Because "Plaintiffs run


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sizable businesses for which they budget carefully . . . . USDA owes them a reasoned explanation

that considers their reliance interests." 1d While Plaintiffs might anticipate disaster relief, the ad

hoc nature of these Programs forecloses specific budgeting            and hence, concrete reliance
                                                                  -
interests.

        The Programs are ad hoc because "they are always subject to Congressional

appropriations," meaning that "when Congress provides adequate funding, USDA can extend

greater benefits to farmers." ECF No. 2l at 35. But when "Congressional appropriations are more

limited, USDA must determine how to allocate these limited resources              and those decisions are
                                                                          -
necessarily unique to each program and context-specific." Id. For example, under a recent

Pandemic Assistance Revenue Program, the USDA received 38,500 applications triggering

nearly $7 billion in relief payments. Id.Inthat case, the USDA applied a flat 9.5 percent payment

factor to all payments. See USDA to Begin Issuing Pandemic Assistance Revenue Program

Payments, https://perma.cc/4A5Y-S8Wx (Dec. 13,2023). And payment factors are just one

USDA tool for budgeting its programs             it also uses payment caps and other eligibility
                                             -
qualifications. ECF No. 2l at 35.

        Turning back to EP.P 2022, then, "progressive factoring does not reflect a change in any

consistent payment calculation policy       payment terms always vary.'-' Id. at35-36. Accordingly,
                                        -
"[n]o reasonable producer can or should do any sort of financial planning based on the assumption

that an ad hoc disaster program that depends entirely on Congressional funding will cover their

losses entirely or adequately)' Id. at36. Thus, to the extent Plaintiffs could articulate the proper

kind of reliance interests relevant to arbitrary-and-capricious review              they cannot       they
                                                                              -                   -
cannot reasonably have relied on past Programs because they allocate ad hoc relief based on

available funding.


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       Therefore, "it suffices that the new policy is permissible under the statute, that there are

good reasons for it, and that the agency believes it to be better . . . ." Fox TV,556 U.S. at 515.

Here, Title I of the Disaster Relief Supplemental Appropriations Act, 2023 provided

$3,741,715,000 in a lump sum "to remain available until expended, fbr necessary expenses

related to losses of revenue, quality, or production losses of crops" under such terms and

conditions "as determined by the Secretary." Pub. L. 117-328, 136 Stat. at 5201. The USDA was

well within its discretion to apply progressive factoring to o'ensure[] the limited available funding

is distributed in a manner benefitting the majority of producers rather than a few." 88 Fed. Reg.

at74470, n.14. This policy of distributing less to more farmers satisfies the low threshold Fox TV

imposes on agencies. So, based on the foregoing, progressive factoring easily satisfies arbitrary-

and-capricious review under the APA.

                 B.    Progressive factoring does not implicate the major questions doctrine.

       Neither does progressive factoring implicate the major questions doctrine. That doctrine

applies only in "extraordinary cases" involving "decisions of vast economic and political

significance" or assertions of "extravagant statutory power over the national economy" or of

"highly consequential power beyond what Congress could reasonably be understood to have

granted." West Virginia v. EPA,597 U.S. 697,776,724 (2022) (quotations omitted). And it is

relevant only when an agency action involves a "novel" or "unprecedented" interpretation of

regulatory authority involving "ancillary" statutory provisions." Id. at716.

       The major questions doctrine is not at issue here. First, Plaintiffs do not even address the

scale of EP.P 2022' s relief to women and minorities. See ECF No. 2l at 37 (explaining that "the

modest benefits afforded to socially disadvantaged farmers do not have the scale or effect

necessary" to qualifr as an "extraordinary case"); see Pub. L. 117-328, 136 Stat. at 5201


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(appropriating only $3.74 billion in disaster relief       a number which, as Plaintiffs admit, is
                                                       -
significantly lower compared to previous years). Second, the USDA's "socially disadvantaged

farmer" designation, while constitutionally problematic, is neither novel nor unprecedented. On

the contrary, "[i]t has been used in USDA's programs for roughly 20 years. And its use in disaster

relief programs is far from unprecedented       Plaintiffs themselves have identified eight recent
                                            -
programs using this designation." ECF No. 2l at 37 .

        In summary, it is not likely at this stage that any of the eight challenged Programs

implicates the major questions doctrine. Neither is progressive factoring likely arbitrary and

capricious under the APA. The constitutional question before the Court, therefore, remains the

only ground for relief, so the Court must now address it. McMillan, 466 U.S. at 51.

         II.     Plaintiffs present a substantial case on the merits and are likely to succeed
                 on their Equal Protection claim.

        When "( I ) 'a serious legal question is involved' and (2) 'the balance of equities weighs

heavily in favor of granting the stay,"' a "movant need only present a substantial case on the

merits." Tex. Democratic Pty.v.Abbott,96l F.3d 389,397 (5th Cir.2020) (emphasis original)

(quoting Arnold v. Garlock, Lnc.,278 F.3d 426,439 (5th Cir. 2001)); see also Certified

Restoration Dry Cleaning Network, LLC v. Tenke Corp., 5ll F.3d 535,543 (6th Cir. 2007)

(pre liminary inj unction).


                A.      The USDA raciallv discriminated in violation of the Fifth
                        Amendment.

        "lt is a sordid business, this diwying us up by race," League of United Latin Am. Citizens

v. Perry,548 U.S. 399, 5l I (2006) (Roberts, C.J., concurring), and consistent Supreme Court

precedent bears little tolerance for the practice, see Parents Involved in Community Schools v.

Seattle School Dist. No. I , 557 U.S. 701, 748 (2007) ("The way to stop discrimination on the


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basis of race is to stop discriminating on the basis of race."); see also Students for Fair

Admissions, Inc. v. President & Fellows of Harvard Col/. (SFFA), 143 S. Ct. 2l4l , 216l (2023)

("Eliminating racial discrimination means eliminating all of it."). That is because, as applied to

the individual, "[d]istinctions between citizens solely because of their ancestry are by their very

nature odious to a free people whose institutions are founded upon the doctrine of equality." Id.

at216243 (quoting Rice v. Cayetano,528 U.S. 495,517 (2000)). As applied to the political

body, "[w]ithout this principle of equal justice . . . there is no republican government and none

that is really worth maintaining." SFFA, 143 S. Ct. at 2159 (quotation omitted). The Fifth

Amendment precludes such maladies. Adarand Constructors v. Pefia,5 I 5 U.S. 200,217 (1995).

       Race-based classifications are presumptively unconstitutional. To overcome that

presumption, the USDA must satisff the "daunting two-step examination" of strict scrutiny.

SFFA,l43 S. Ct. at 2162;see also Bartlettv. Strickland,556 U.S. 1,21 (2009) ("[T]he moral

imperative of racial neutrality is the driving force of the Equal Protection Clause, and racial

classifications are permitted only as a last resort.") (internal marks omitted). First, the USDA

must demonstrate that favoring one race over another is used to "further compelling govemment

interests." Gratz v. Bollinger,539U.S.244,270 (2003). Second, it must show that its "use of

race is 'narrowly tailored'        meaning 'necessary'       1s achieve that interest." SFFA,l43 S. Ct.
                              -                          -
at2162 (quoting Fisher v. Univ. of Tex. at Austin,570 U.S. 297,311-12 (2013)).

                       1.          ERP 2022 discriminates on the basis of race.

       Before applying strict scrutiny, we must determine to what extent, if at all, the USDA

discriminated on the basis of race. Plaintiffs complain, inter alia, that ERP 2022 employs

progressive tactoring and refunds insurance premiums and fees based, in part, on race.

See 88 Fed. Reg. at 74410, n.l5 (providing justification for insurance refunds to socially


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disadvantaged farmers). The USDA responds that progressive factoring does not discriminate

based on race or sex, ECF No. 21 at 3l-32, and that USDA's choice to designate socially

disadvantaged farmers based on race otherwise satisfies strict scrutiny, id. at3744.

          The USDA correctly explains that progressive factoring, considered apart from how

 ERP actually applies it, does not discriminate on the basis of race. EP.P 2022 is the first Program

 to employ "progressive factoring" when remunerating disaster losses. 88 Fed. Reg. at 74410.

 Put simply, the more a claimant loses, the less he receives, while the less he loses, the more he

 receives. See id. (providing a table to illustrate this inverse-remuneration principle). And this

 determination alone is race-neutral.

          As part of an overall scheme in ERP 2022, however, progressive factoring is not race-

 neutral.a As the USDA explains, "[]or underserved farmers, which includes farmers who are

 socially disadvantaged, FSA adds the farmer's share of their federal crop insurance premiums

 and fees to the progressive factored sum." ECF No. 2l at 32. "Thus, and after applying

 progressive factoring, an underserved farmer's Track I calculation is multiplied by ll5%

 (before applying an additional flat 7 5oh factor across the board)." Id. ln short, ERP 2022 applies

 progressive factoring to all farmers first and then exempts underserved farmers                      including
                                                                                                 -
 socially disadvantaged farmers            from its adverse consequences. See 88 Fed. Reg. at 74414,
                                       -
 n.l5 ("Underserved producers will receive an increase to their Track 2 payment that is equal to

 l5 percent of the gross Track 2 payment after progressive factoring not to exceed the calculated

 Track 2 payment before progressive factoring.").




l See 88 Fed. Reg. at74408 (defining "socially disadvantaged farmers" as: (l) American Indians or Alaskan Natives;
(2) Asians or Asian-Americans; (3) blacks or African-Americans; (4) Hispanics or Hispanic-Americans; (5) Native
Hawaiians or other Pacific Islanders; and (6) women).

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            Neither is ERP 2022's refund of insurance premiums and fees race-neutral, irrespective

    of progressive factoring. The Program explains that "[flor underserved farmers, the producer's

    share of the Federal crop insurance administrative fee and premium will be added to the resulting

    sum," id. at74410, meaning that socially disadvantaged farmers secure more refunds under the

    program than white male farmers. This disparity, the USDA explains, "supports the equitable

    administration of FSA programs by targeting limited resources to support underserved farmers

    and ranchers," because they "are more likely to lack financial reserves and access to capital to

    invest in future risk protection while coping with losses due to unexpected events outside of

    their control." Id.

            In summary, there is liule question that ERP 2022, which is an ongoing program, is

    racially discriminatory. First, ERP 2022 applies progressive factoring, hurting farmers claiming

    large losses, and then exempts certain races from the adverse consequences. Second,ERP 2022

    refunds insurance premiums and fees for certain races because the USDA believes that those

    races, quarace, are "more likely to lack financial reserves and access to capital .. .." Id.

                           2.       The USDA lacks a compelling interest to racially discriminate.

          The Supreme Court has "identified only two compelling interests that permit resort to

race-based government action. One is remediating specific, identified instances of past

discrimination that violated the Constitution or a statute."5 SFFA,l43 S. Ct. at2l62. This interest

has three components. Vitolo v. Guzman, 999 F.3d 353, 361 (6th Cir. 2021). First, "[i]t cannot

rest on a'generalized assertion that there has been past discrimination in an entire industry."'.Id

(quoting City of Richmond v. J.A. Croson Co.,488 U.S. 469, 498 (1989)). "Second, there must




5
 The second, "avoiding imminent and serious risk to human safety in prisons," is not relevant here. SF-F7, 143 S. Ct.
at2162 (citing Johnsonv. California,543 U.S. 499,512-13 (2005)).

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be evidence of intentional discrimination in the past." Vitolo,999 F.3d at 361 (emphasis original)

(citing Croson,488 U.S. at 503). "Third, the government must have had a hand in the past

discrimination it now seeks to remedy." Vitolo,999 F.3d at 361. Importantly, "alleviat[ing] the

effects of societal discrimination is not a compelling interest." 1d (quoting Shaw v. Hunt, 517

u.s. 899, 909-10 (1996)).

       The USDA argues that it has a compelling interest in "minimizing and remediating the

effects of [past] discrimination." ECF No. 2l at 38. It claims a "strong basis in evidence to

conclude that race-based action is necessary to remedy the discrimination that has stunted the

success of socially disadvantaged farmers." Id. It finds this "strong basis" in only one study,

which "found farms owned by socially disadvantaged persons still operate fewer acres, eam lower

net farm income on average, are less likely to specialize in cash grains, are more likely to hold

loans for their farm business than non-Hispanic [w]hite, male-owned, and high-sales farms,

respectively." Id.at 39 (citing Todd, Jessica E. et al., An Overview of Farms Operated by Socially

Disadvantaged, IYomen, and Limited Resource Farmers and Ranchers in the United States,

Washington, D.C.: Economic Research Service, U.S. Department of Agriculture,2024) (2024

SDFR Overview).

       Minimizing past discrimination here is not a compelling interest. First, no portion of the

2024 SDFR Overview identifies discriminatory actions taken by the USDA or in any way links

them to its statistical findings. Second, it finds that white farmers are at a greater financial risk

than Hispanic farmers in three out of four metrics and are at a greater financial risk than non-

Hispanic, socially disadvantaged farmers in two out of four metrics. 2024 SDFR Overview at 18.

Third, given that the study was published in February 2024, while ERP 2022 was published on

October 31,2023,the USDA cannot have used it in crafting these regulations. See SEC v. Chenery


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Corp.,318 U.S. 80, 87 (1943) ("The grounds upon which an administrative order must be judged

are those upon which the record discloses that its action was based.").

           The Court also notes that the USDA's justifications for "socially disadvantaged" benefits

programs consistently fail when challenged in court. See, e.g., Holman v. Vilsack, No. 2l-1085,

2021 WL2877915 (W.D. Tenn. Jul. 8,2021); Miller v. Vilsack, No.2l-CV-0595,2021 WL

1I I I 5   194 (N.D. Tex. Jul. l, 2021); Wynn v. Vilsack, 545 F. Supp. 3d 127 | (M.D. Fla. 2021);

Faust v. Vilsack,sl9 F. Supp. 3d 470 (E.D. Wis. 2021).ln these cases, courts have tbund that the

USDA "put[ forward no evidence of intentional discrimination . . . in at least the past decade."

Miller, 2021 WL I 1 I 15194, at t9. Only the opposite has occurred since then.
See Inflation Reduction Act of 2022, Pub. L. 117-169, $ 22007(e), 136 Stat. 1818,2022-23

(providing an additional outlay in2022 of $2.2 billion for farmers who allegedly suffered USDA

discrimination). In short, the USDA cannot carry its burden to demonstrate a compelling interest

in its racially discriminatory Programs.

                          3.     The USDA's relief was not narrowly tailored.

           Even if it could establish a compelling interest, the ERP 2022 did not narrowly tailor its

relief. Narrow tailoring requires the government to show "that no workable race-neutral

alternatives" would achieve the compelling interest. Fisher,570 U.S. at312. An over- or under-

inclusive policy, therefore, fails narrow tailoring. Croson,488 U.S. at 507-508. "lt doesn't matter

if it's the easiest, most administrable, most well-intentioned program in the world       it cannot be
                                                                                      -
based on race if it is not strictly necessary to achieve the relevant compelling interest."

Nuziard v. Minority Bus. Dev. Agency, No. 23-CY-0278, 2024 WL 965299, at *37

(N.D. Tex. Mar. 5,2024) (Nuziard II) (citing Fisher,570 U.S. at3l2).




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       The USDA argues that its alleged compelling interest is narrowly tailored in these

Programs because they are: (l) necessary; (2) flexible and time-limited; (3) fair to third parties;

and (4) neither over- nor under-inclusive. ECF No. 2l at 4044.

       These arguments fail. First, the USDA could serve the same racial groups through extant

race-neutral alternatives. For example, the "underserved farmer" classification includes the race-

based socially disadvantaged farmers alongside new and low-income farmers. 88 Fed. Reg. at

74408. But ERP 2022 conflates the latter two categories with the former racial groups. See id. at

74410, n.l5 (targeting extra relief to underserved farmers because they are "more likely to lack

financial reserves and access to capital" and run "vulnerable and smaller operations"). Because

the USDA could have addressed its alleged racial inequities through a "workable race-neutral

alternative," Fisher,570 U.S. at312, its racial classification system cannot survive.

       Second, the racial classification system is both over- and under-inclusive. It's over-

inclusive because the USDA provides additional relief to farmers of its preferred races absent any

showing that they needed additional relief. See Miller, 2021 WL 1 1 I 15194, at 'r'9

(finding USDA's loan forgiveness program overinclusive because it gave benefits to those who

"may never have experience discrimination or pandemic-related hardship"). It's under-inclusive

because it will deny additional aid to farmers not of the USDA's preferred races who are in danger

of financial ruin. See SFFA,143 S. Ct. at2210 (Gorsuch, J., concurring) ("Where do these boxes

come fiom? Bureaucrats."). "Jewish-Americans," for example, "are excluded despite a well-

documented history of discrimination; the same is true of Italian-Americans, Irish-Americans,

Slavic-Americans, and Arab-Americans." ECF No. ll at 21. "Yet an ethnic South Korean or

Nigerian who arrived in 2020 receives enhanced benefits." Id. at 2l-22; see Vitolo,999 F.3d

at 364 ("[Those from] Pakistan and India qualiff for special treatment. But those from


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Afghanistan, Iran, and Iraq do not. Those from China, Japan, and Hong Kong all qualiff.

But those from Tunisia, Libya, and Morocco do not. This scattershot approach does not conform

to the nilrow tailoring strict scrutiny requires.").

        Third, prioritizing certain races in the "socially disadvantaged" benefits negatively

impacts third parties. Not so, the USDA argues, because these unequal benefits "do[] not impose

an impermissible burden on white male farmers, who continue to receive the vast majority of

agricultural funding, nor burden Plaintiffs specifically." ECF No. 2l at 42. That claim is untrue.

One of the Plaintiffs, for example, received one tenth of what he otherwise would have received

had he been a woman. See ECF No. 10-1 fl 20 (explaining that Mr. Strickland received$1,272.71

for his half, but Mrs. Strickland received $71,900.96, based on insurance premium refunds).

        To summarize, the challenged programs invite strict scrutiny because they overtly

discriminate on the basis of race. And they fail strict scrutiny because the USDA cannot identifu

a compelling interest to racially discriminate. Even if it could, such racial discrimination fails the


strict requirements of narrow tailoring. The challenged Programs, therefore, are likely to violate

the Fifth Amendment on the merits.

                B.      The USDA discriminated based on sex in violation of the Fifth
                        Amendment.

        Just like racial discrimination, sex discrimination is presumptively invalid under the

Constitution. United States v. Virginia,5l8 U.S. 515, 531 (1996). "Successful defense of

legislation that differentiates on the basis of gender, we have reiterated, requires an 'exceedingly

persuasive justification."' Sessiozrs v. Morales-Santano, 582 U.S. 47, 58 (2017)

(quoting Virginia,5l8 U.S. at 531). To justiff sex-based classification, the USDA must prove

that (l) it serves "important govemmental objectives" and (2) it is "substantially and directly

related" to such objectives. Miss. Univ. for Women v. Hogan, 458 U.S. 718,724,730 (1982)

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(quotation marks omitted). The USDA admits that its Programs discriminate based on sex,

see supra at Section II.A.1, so the only question is whether it can survive intermediate scrutiny.

       It cannot. First, the USDA advances a generalized desire to remedy alleged inequities,

88 Fed. Reg. at 74410, n.15, which is insufficient under the Fifth Amendment.
See Vitolo,999 F.3d at364 (stating that "general claims of societal [sex] discrimination are not

enough") (citing Hogon,458 U.S. at 727-29). Second, as with its race discrimination, the over-

and under-inclusive nature of the benefits to women conflicts with the USDA's stated goal.

"Women who do not need additional assistance received it." ECF No. I I at22. And "[w]omen

who arrived in the United States recently and thus        unless USDA believes it still discriminates
                                                      -
against women today       could not have suffered discrimination at USDA's hands received it."
                      -
/d Further, entities like Plaintiff Alan and Amy West were arbitrarily denied additional disaster
relief because Amy West, a woman, owns only 48 percent of the joint venture. ECF No. 10-3

fl 18. The USDA falters under intermediate scrutiny, and therefore its challenged Programs are
likely to violate the Fifth Amendment on the merits.

         III.   Plaintiffs suffer irreparable harm.

       A "loss of constitutional freedoms even for minimal periods of time . . . unquestionably

constitutes irreparable injury." BST Holdings, LLC v. OSHA,lT F.4th 604,618 (5th Cir.202l)

(internal marks omitted). That is because ''racial classifications cause 'stigmatic harm."' Nuziard

11,2024 WL 965299, at *45 (quoting Croson,488 U.S. at 722); see Shaw,5l7 U.S. at 908

(stating that "a racial classification causes fundamental injury to the individual rights of a

person.") (intemal marks omitted). These stigmatic harms are ongoing because "[t]he badge of

inequality and stigmatization conferred by racial discrimination is a cognizable harm in and of

itself . . . |' Moore v. USDA ex rel. FMHA,993 F .2d 1222, 1224 (5th Cir. 1993).


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        Harm is irreparable when equal protection is at issue. See League of United Latin Am.

Citizens v. Abbott,60l F. Supp. 3d 147, 182 (W.D. Tex.2022) (explaining that equal protection

violations "inflict irreparable injuries because the loss of constitutional freedoms for even

minimal periods of time unquestionably constitutes irreparable injury") (internal marks omitted);

Greer's Ranch Cafd v. Guzman,540 F. Supp. 3d 638, 651 O{.D. Tex. 2021) (holding that

plaintiffs denied equal treatment were ineparably harmed).

        Plaintiffs claim economic injuries but seek no economic relief because their "injuries are

not purely economic." ECF No. 22 at l0 (citing SFFA, 143 S. Ct. at 2170 ("The entire point of

the Equal Protection Clause is that treating someone differently because of their skin color is not

like treating them differently . . because they play the violin poorly or well.") (emphasis

original)). Had the USDA done the latter, Plaintiffs' "only harm would be monetary. But that is

not what happened here." ECF No. 22 at 10.

        Defendants respond that (1) Plaintiffs identift only past harm, which cannot justifu

injunctive relief, ECF No. 2l at 17-21; (2) the alleged harms are reparable because Plaintiffs

provide an exact compensatory dollar amount, id. at22-24, meaning the alleged equal protection

violations are not presumptively harmful at this stage, id. at24-27; and (3) Plaintiffs' delay in

bringing this lawsuit undercuts their claims of irreparability, id. at27-28.

                 A.     Plaintiffs identiff current, ongoing harms.

        Courts recognize an injury from "the denial of equal treatment resulting from the

imposition of [race-and-ethnicity requirements], not the ultimate inability to obtain the benefit."

Nuziard v. Minority Business Development Agency, 676 F. Supp. 3d 473,481 (N.D. Tex.2023)

(Nuziard I) (internal marks omiued). And enjoining an agency from considering race and

ethnicity in its regulations "will likely redress [the] injury." 1d


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        Just so here. First, Plaintiffs have applied for almost every USDA disaster-relief Program

and, in some cases, received multiple payments under those programs. See, e.g.,ECF Nos. 10-1

flfl l4-20, I 0-2 'ilTlT 14-20, 10-3 flfl 12-18. Because Plaintiffs budget for disaster relief under these

programs and claim to suffei excess losses under the USDA's "socially disadvantaged"

designation, ECF No. l0-2 fl 18, they will apply for any remaining available funding. ERP 2022,

meanwhile, is still open and distributing funds to applicants, making redress likely here.

        Second, Plaintiffs have pending applications before USDA Programs that employ

"socially disadvantaged" benefits designations. ECF No. 23-1 fl 10. Plaintiff Alan West, for

example, "applied to USDA's Natural Resources Conservation Service (NCRS) on behalf of Alan

and Amy West Farms for a grant under the Environmental Quality Incentives Program (EQIP) to

replace two center pivots on [his] farm in the summer of 2023." Id. n 4. But two EQIP

administrators told West "that whether a farmer was socially disadvantaged or otherwise

underserved was a factor in ranking their proposals for EQIP funding." Id. n9. That application

is "still under consideration." Id. fl 12. An injunction on constitutional grounds, therefore, will

likely redress Plaintiffs' stigmatic harm in their ongoing applications to USDA Programs.

                 B.     Calculable economic damages do not repair these harms.

        Defendants argue that "in other constitutional contexts . . . courts have explained that

irreparable injury should not be presumed        especially when 'the damage to plaintiff [] is chiefly,
                                             -
if not completely, economic." ECF No. 21 at 25 (citing Ne. Fla. Chapter of Ass'n oJ'Gen.
Contractors of Am. v. City of Jaclcsonville. Fla., 896 F.2d 1283, 1286 (11th Cir. 1990)). And

"[w]here, as here, there are mechanisms to compensate a plaintiff for quantifiable harm at the

conclusion of a case, the Fifth Circuit has declined to find a constitutional harm ineparable." ECF

No. 2l at26 (citing Morganv. Fletcher, 518 F.2d 236 (sth Cir. 1975)).


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        Economic relief will not help Plaintiffs here. First, Plaintiffs don't even seek economic

relief. ECF No. I at4647 (requesting relief). Second, "[d]amages don't remedy stigmatic harms"

anyways. Nuziard 11,2024 WL 965299, at *45. That must be the case here, where the only

predicate for relief is stigmatic harm.

                 C.    Plaintiffs exercised reasonable diligence in bringing this lawsuit.

       "[A] parry requesting a preliminary injunction must generally show reasonable diligence."

Benisekv. Lamone,585 U.S. 155, 159 (2018). Defendants cite cases from "[c]ourts around the

country . . . reject[ing] claims of irreparable harm after delays . . . ." ECF No. 2l at 27. Those

cases all involve Lanham Act and commercial cases. See, e.g., Tough Traveler, Ltd. v. Outbound

Prod.,60 F.3d 964,968 (2d Cir. 1995) (trade dress infringement); Citibank, N.A. v. Citytrust,

756F.2d273,276 (2d Cir. 1985) (trademark); Boire v. Pilot Freight Caruiers, lnc.,515 F.2d

I185, I193 (5th Cir. 1975) (labor and employment).

        But here, as in NRI of Am., Inc. v. Bureau of ATF, "the cases relied on by Defendants

involved commercial trademark rights, whereas this case involves constitutional rights and

regulations affecting those rights." No. 3:23-CY-1471. 2024 wL 1349307, at * I I

(N.D. Tex. Mar. 29,2024). When constitutional rights are involved, the courts consider all the

"circumstances . . . [to] determine[] that the delay . . . was not so unreasonable to militate against

a finding of irreparableharm." Id.

        Plaintiffs' minimal delay is excusable for purposes of preliminary relief. The most recent

Program went into effect on October 37,2023. 88 Fed. Reg. at 74404. Plaintiffs explain that

"[o]nce the programs start, it takes time to find counsel, study complex federal programs,

understand the extent of the discrimination that is occurring, prepare and file litigation, and then

seek preliminary relief." ECF No. 22 at 13. This is reasonable because ERP 2022, the USDA's


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October 31,2023 Program, employs "byzantine funding formulas buried in the Federal Register,

and released without the long deliberative process of notice-and-comment rulemaking." ld This

is the kind of case where "delays were 'caused by [plaintiff s] good faith efforts to investigate

facts and law."' ADT, LLC v. Cap. Connect, Inc., 145 F. Supp. 3d671,699 (N.D. Tex.20l5)

(quoting Marl<s Org., Inc. v. Joles,784F. Supp. 2d322,333-34 (S.D.N.Y. 2011)).

       In short, Plaintiffs have met their burden to show irreparable harm at this stage. Suffering

racial and sexual discrimination is a stigmatic harm that economic relief cannot ameliorate. These

harms are ongoing, and Plaintiffs filed suit as soon as they reasonably could given the complexity

of the Programs at issue here.

         IV      The balance of interests favors Plaintiffs, and an injunction would not
                 disserve the public interest.

       The public interest lies in preventing "the violation of a party's constitutional rights."

Jaclaon v. Women's Health Org. v. Curuier,760 F.3d 448, 458 n.9 (5th Cir.2014) (quotation

omitted). It also lies in agencies obeying their obligations under the APA and authorizing statutes.

C I ar ke v. C FTC, 7 4 F .4th 627, 64344 (5th Cir. 2023).


       Here, "[t]he interests of all farmers receiving disaster relief are served by halting further

payments based on race or sex." ECF No. 1 I at 31. If PlaintitTs prevail, the USDA "must make

the disaster relief equal . . . . Whether that means providing more relief to non-underserved

farmers, or less relief to socially disadvantaged farmers, USDA's task will be made more

manageable by promptly halting its unlawful behavior." ld

       Defendants respond only that an injunction would be halt or decrease payments for an

unspecified period of time. ECF No. 2l at 29-30. This claim is unavailing. At most, it would

require the USDA to prepare an addendum to the calculation process and ultimately give it more

money to spend on disaster relief.

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         Courts should not issue an equitable remedy "more burdensome to the defendant than

 necessary to redress" Plaintiffs' injuries. Califano v. Yamasaki, 442 U.S. 682,702 (1979); see

 Gill v. Whitford,585 U.S. 48, 68 (2018) (explaining that "a remedy must . . . be limited to the

 inadequacy that produced the injury in fact that the plaintiff has established")

 (internal marks omitted).

         With this in mind, the Court GRANTS the Motion IN PART. The only active Program

 capable of being enjoined is ERP 2022. As to Plaintiffs, therefore, Defendants are ENJOINED

 from making or increasing payments, or providing any additional relief, based on its

 "socially disadvantaged farmer or rancher" designation under that Program, whether used

 directly or as a subset of its "underserved farmer or rancher" designation. 88 Fed. Reg. at 77408.

 Defendants may, however, continue to apply progressive factoring on future relief applications,

 so long as that is done independently of any race- or sex-based considerations. Thus, for

 example, Defendants may not apply progressive factoring to all farmers first and then exempt

 underserved farmers          including socially disadvantaged farme            from its adverse
                          -
 consequenc es. Id. at 7 4414, n.7 5.

         SO ORDERED.
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         June / ,2024



                                                               J. KACSMARYK
                                                     LINITED STATES DISTRICT JUDGE




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